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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        MOSED SHAYE OMAR,
                                   7                                                        Case No. 15-cv-01760-JSC
                                                       Plaintiff,
                                   8
                                                v.                                          ORDER TO THE UNITED STATES
                                   9                                                        DEPARTMENT OF JUSTICE
                                        JOHN KERRY, et al.,
                                  10
                                                       Defendants.
                                  11

                                  12          Plaintiff Mosed Shaye Omar, a United States citizen, contends that the United States
Northern District of California
 United States District Court




                                  13   Department of State unlawfully revoked his passport based a written statement (“the Statement”)

                                  14   that Omar contends is unreliable. The Court heard oral argument on Omar’s motion for a

                                  15   preliminary injunction on September 8, 2015. At the hearing, the Court questioned the

                                  16   government at length about the undisputed facts in the record that supported Plaintiff’s assertion

                                  17   that the Statement is unreliable and cannot be the basis for revocation of his passport. At the

                                  18   conclusion of the hearing the Court took the motion under submission to give Plaintiff the

                                  19   opportunity to make a supplemental submission regarding irreparable harm. Following the

                                  20   hearing, the parties agreed to participate in a settlement conference before Judge Orrick on

                                  21   October 8, 2015.

                                  22          By letter dated September 28, 2015, Plaintiff Mosed Shaye Omar advised the Court that

                                  23   nine days after the hearing, the United States Attorney’s Office obtained a warrant from another

                                  24   magistrate judge of this Court to obtain Plaintiff’s DNA. (Dkt. No. 35.) Plaintiff expressed

                                  25   concern that the affidavit in support of the warrant (which was not disclosed to Plaintiff) relied

                                  26   upon the very Statement that in this lawsuit is being challenged as unreliable. Accordingly, the

                                  27   Court ordered the government to file the affidavit submitted to the magistrate judge in support of

                                  28   the warrant. (Dkt. No. 36.) The government did so and also provided a copy to Plaintiff.
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                                   1            The Court has now reviewed the warrant application and directs the Department of Justice

                                   2   to answer the following questions in writing on or before 5:00 p.m. on Thursday, October 1,

                                   3   2015.

                                   4            1.     The affidavit omits any reference to: this lawsuit, Plaintiff’s challenge to the

                                   5   Statement’s reliability, this Court’s questions about the Statement’s reliability, and any of the facts

                                   6   surrounding the Statement. Was any of this information otherwise provided to the magistrate

                                   7   judge in connection with the warrant application?

                                   8            2.     If any of the above information was not provided, why was the information not

                                   9   disclosed to the magistrate judge?

                                  10            3.     Was the federal agent who signed the affidavit in support of the warrant at all

                                  11   aware of the proceedings before this Court? If not, how did he come to seek the warrant just nine

                                  12   days after the preliminary injunction hearing and more than two and half years after the Statement
Northern District of California
 United States District Court




                                  13   on which the affidavit is based was made?

                                  14            4.     Was the Assistant United States Attorney who signed the application for the search

                                  15   warrant aware of the litigation before this Court or Mr. Omar’s challenge to the Statement’s

                                  16   reliability?

                                  17            5.     Was the Department of Justice Attorney appearing in this action aware that the

                                  18   United States was seeking a warrant? If so, when did he become aware of the possibility of a

                                  19   warrant application and was he aware of what information was not disclosed to the magistrate

                                  20   judge.

                                  21            IT IS SO ORDERED.

                                  22   Dated: September 29, 2015

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                                                                                                      JACQUELINE SCOTT CORLEY
                                  25                                                                  United States Magistrate Judge
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